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                  Subject:    Re: certificate usage in iOS/OS X
                   From:      "Jacques Vidrine" <nectar@apple.com>
            Received(Date):   Tue, 15 Oct 2013 16:28:58 +0000
                      To:     "Erik Neuenschwander" <erikn@apple.com>
                      Cc:     "Dallas De Atley" <deatley@apple.com>
                    Date:     Tue, 15 Oct 2013 16:28:58 +0000

           Hi Erik,

           I’m specifically looking at the iPhone Device CA and lockdown & FaceTime’s usage of it.
           So far I’ve not found any other device-side clients.

           You are on the money about 15212491: That is separate from the FaceTime issues,
           which are dealing with a COPY of the device certificate, some of which are reaching
           their expiration date.

           Where I think we could use some additional help is in compiling a list of all our CAs, their
           expiration dates, and their signing policies (especially with regards to leaf certificate
           expiration dates). That can happen in parallel with any planned software updates.

           Cheers,
           --
           Jacques

           On Oct 14, 2013, at 3:47 PM, Erik Neuenschwander <erikn@apple.com> wrote:

           > Hi Jacques, and adding Dallas since you're sick,
           >
           > Unsurprisingly, there was a lot of conversation in Kim's morning meetings about Taos
           and cert expiry. She mentioned your team is auditing what parts of the two platforms
           rely on what aspects of certificates, and she asked me to find out more about that and
           let her know. Is there anything you've sent out so far?
           >
           > My understanding, please correct me if I'm wrong, is this is about the
           <rdar://problem/15212491> "Hard-coded device sub-CA certificate expires April 2014,
           impacting at least activation", totally separate from the "device identity expired" issues
           we dealt with over the weekend. And the goal is to see if there's just one issue/case we
           still have to fix, or if there are multiple time bombs in iOS or OS X.
           >
           > I'm happy to have Scott's team help out as well, if/when there are concrete things to
           investigate. And, jumping ahead several steps, I wonder if there now needs to be a
           Sochi and/or Okrah TLF to "improve certificate hygiene" as presumably we want all the
           clients in both platforms to only be doing the Right Thing with respect to cert validation.
           >
           > Thoughts? And thanks for the update.




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           >
           > TTFN
           > -N
           >




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